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IN THE UNITED STATES DISTRICT COURT FOR THE

 

DISTRICT OF MARYLAND
IN THE MATTER OF THE SEARCH OF 19
TWO CELLULAR TELEPHONES "2485 JMC
FURTHER DESCRIBED IN Case No.

 

ATTACHMENT A, CURRENTLY

LOCATED AT THE MARYLAND STATE | UNDER SEAL
POLICE BARRACK IN EASTON,

MARYLAND

 

AFFIDAVIT IN SUPPORT OF APPLICATION FOR A
SEARCH WARRANT

1, Special Agent Paul L. Dass of the Bureau of Alcohol, Tobacco, Firearms and Explosives
(“ATF”), being duly sworn, depose and state as follows:
INTRODUCTION
lL, This is an Affidavit provided in support of an application for a search warrant
pursuant to Federal Rule of Criminal Procedure 41. Specifically, I seek a search and seizure
warrant authorizing the search and seizure of the following property, more fully described in
Attachment A, for evidence that Andrew Tyler LEWIS and Shelby Leigh O7DONNELL violated
21 U.S.C. §§ 841 and 846, conspiracy to possess and possession with the intent to distribute
controlled dangerous substances:
a. One black iPhone with black Otter Box case
b. One black iPhone with clear and blue case (hereinafter, the “TARGET
DEVICES”)

2. The applied-for search warrant would authorize the forensic examination of the

TARGET DEVICES for the purpose of identifying and extracting electronically stored data

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particularly described in Attachment B by ATF or their authorized representatives, including but
not limited to other law enforcement agents assisting in this investigation.

3. The ATF has been investigating LEWIS for violations of 21 U.S.C. §§ 841 and 846
since approximately January 2019. On July 17, 2019 the Maryland State Police (“MSP”) seized
seven pounds of suspected marijuana and approximately 5,000 THC vaping cartridges during a
traffic stop of LEWIS and O7DONNELL in Frederick, Maryland. They also seized the TARGET
DEVICES from the passenger compartment of the vehicle. As detailed below, I believe LEWIS
and O’DONNELL keep and conceal in the TARGET DEVICES evidence of communications,
electronic messages, web-based applications, photos, and other evidence revealing the scope of
the conspiracy, the identity of other members, and their methods of drug trafficking and the
laundering of proceeds of drug trafficking.

AFFIANT BACKGROUND

4, I am currently a Special Agent with the ATF assigned to the Hyattsville I Field
Office. I have been employed by the ATF since March 2018. I have successfully completed the
Federal Law Enforcement Training Center Criminal Investigator Training Program and the ATF
Special Agent Basic Training program for a combined period of 26 weeks. Prior to my tenure
with the ATF, J was a criminal investigator with the U.S. Environmental Protection Agency
handling protective intelligence. Prior to I was a criminal investigator and a sworn federal police
officer with the Pentagon Force Protection Agency, Arlington, Virginia; I was also a military
police officer in the United States Army for five years, which included a fifteen-month deployment

to Iraq.

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5. In the course of my training and experience, I have become familiar with the
methods and techniques associated with the distribution of narcotics, the laundering of proceeds
derived from the sale of narcotics, and the organization of drug conspiracies. Based on my
knowledge and experience, individuals involved with trafficking contraband frequently use
cellular telephones in furtherance of their illegal activities. In addition, I know that individuals
engaging in CDS trafficking often use cellular phones to obtain and/or dispose of CDS. These
individuals often contact customers and/or sources of CDS supply by utilizing cellular phones.
Also, individuals who are prohibited from legally purchasing firearms sometimes attempt to obtain
- firearms from associates who can otherwise access, obtain, or purchase firearms.

6. In the course of my training and experience, I know that digital cellular telephones
permit drug traffickers to remain in constant communication with one another via voice, text
messaging, and e-mail. I know that drug traffickers often have stored in their phones: (1) the
telephone numbers and digital display codes used by accomplices; aiders and abettors, co-
conspirators, and participants in these illegal activities; (2) the identities of co-conspirators,
customers, and criminal associates based upon subscriber information derived from the retrieved
phone numbers and names associated with them; (3) stored text and e-mail messages identifying
possible co-conspirators or identifying or discussing certain drug transactions; and (4) stored
digital images and movies, depicting evidence and fruits of the above listed crime. I also know
that narcotics dealers often use multiple cellular telephones for the purpose of communicating with

the narcotics sources of supply and customers.

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7. The facts in this affidavit come from my personal observations, my training and
experience, and information obtained from other agents, officers, and witnesses. Since this
affidavit is being submitted for the limited purpose of securing a search warrant, I have not
included each and every fact known to me concerning this investigation. I have not, however,
excluded any information known to me that would defeat a determination of probable cause.

PROBABLE CAUSE

8. On April 8, 2019, members of the Metropolitan Area Drug Task Force (MADTF)
working at Baltimore-Washington International Airport (BWI) received a tip from an anonymous
source (CS-1) regarding LEWIS. CS-1 said LEWIS frequently travels to California to purchase
large amounts of marijuana. CS-1 said that LEWIS was possibly leaving for California the
moming of April 8, 2019. As a result, investigators initiated surveillance at BWI. At
approximately 6:16 AM, investigators observed LEWIS at the Spirit Airlines ticket kiosk within
BWI airport. His scheduled flight was Spirit Airlines Flight NK141 from BWI to Los Angeles,
California-LAX. One investigator detected an odor of marijuana emitting from LEWIS’ suitcase.
During the screening of LEWIS’ luggage by the Transportation Security Administration (TSA),
TSA Officers noticed a large amount of money bundled together and stored within shoes and a
brown zip-up container. Sixteen bundles of money held together with rubber bands were
concealed within LEWIS’ suitcase. The total amount was $76,796. TSA Officers also located a
small amount of marijuana. Investigators interviewed LEWIS about the contents of his suitcase.
He was not truthful about the amount of money he was in possession of, and LEWIS could not

provide any receipts or documentation that could explain how he obtained the currency. He

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initially said he travels to California every two weeks to purchase glassware for his business, then
recanted his story and advised the currency was not for a business and that he was just traveling to
California to spend the money on whatever he wanted. TSA released LEWIS’ luggage to MADTF
investigators. !

9, The luggage tag on LEWIS’ suitcase displayed the telephone number 410-829-
9943. On April 10, 2019, a MADTF investigator called the number and spoke to LEWIS. Also,
investigators reviewed the subscriber information contained within call detail records for the
phone. According to the records, LEWIS is the subscriber.

10... MADTF investigators obtained records from Spirit Airlines and found that Lewis
traveled to LAX (California) from BWI (Maryland) or from BWI to LAX on Spirit Airlines twelve
times from October 2018-April 2019. The records show he took eight trips to California during
this time frame. Five of those flights were booked one to three days prior to departure. His stay
was typically three to five days. Based on my training and experience as well as the training and
experience of other investigations who have used confidential informants (CIT) and undercover
investigators (UC) to conduct controlled CDS purchases, individuals traveling to purchase CDS
typically do not have set schedules for their purchases. Therefore, they will sometimes plan CDS

transactions only days or hours in advance.

 

1 A Maryland Transportation Authority (MTA) Officer issued LEWIS a civil citation for possession of marijuana

(less than 10 grams).
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11, On June 17, 2019, investigators requested and obtained a federal search and seizure
warrant to track the LEWIS’s phone. This search warrant was signed by the Honorable Stephanie
A. Gallagher, U.S. Magistrate Judge for the District of Maryland.

12. On the evening of July 10, 2019, investigators noticed LEWIS’s phone was
traveling west from Maryland. On July 12, 2019, at approximately 9:00 p.m. LEWIS’s phone
atrived in the Los Angeles, California area. Three days later, on July 15, 2019, at approximately
10:15 a.m., LEWIS’s phone appeared to depart the Los Angeles, California area.

13. On July 17, 2019 at approximately 4:00 am., MSP conducted a traffic stop for
speeding on a White Lincoln MKZ bearing Maryland license plate number 4CHE25 in Frederick,
Maryland. LEWIS and O’DONNELL were in the vehicle. As the MSP Trooper came in contact
with LEWIS and O’7DONNELL, he detected a strong odor of what he believed to be marijuana,
based on his training and experience. The Trooper recovered approximately seven pounds of
suspected marijuana, approximately 5,000 THC vaping cartridges, and the TARGET DEVICES
in the vehicle pursuant to a search.

14, Investigators believe these phones belonged to and were used by O7 DONNELL and
LEWIS due to their presence in the vehicle and the tracking of LEWIS’s phone. In fact, when
investigators interviewed O’DONNELL, she provided the passcode for her phone, which she
identified as the black iPhone with the clear and blue case.

15. During a recorded jail call on July 17, 2019, LEWIS told O7 DONNELL the police
valued the seized marijuana at three hundred thousand dollars on his charging papers. LEWIS

then described that value as “twice as much as what I planned on making.” LEWIS told

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O’DONNELL to go home, get all the important stuff and take it to “super K.”” LEWIS told her to
tell him, “super K,” to take it somewhere else other than his place. O. DONNELL said she would.
Based on my training and experience, LEWIS appears to be instructing O7DONNEL to get rid of
any remaining contraband.
CONCLUSION

16. Based on the above mentioned facts, I submit there is probable cause to support a
warrant to search the TARGET DEVICES described in Attachment A and seize the items
described in Attachment B, associated with the distribution of and conspiracy to distribute

controlled substances in violation of 21 U.S.C. § 841 and 846.

Pp ~ Dass
Special Agent
Bureau of Alcohol, Tobacco, Firearms and Explosives

Subscribed to and sworn to me this ob day of July, 2019.

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oa J. Mar}/Coulson
States Magistrate Judge

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